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                                                       U.S. Department of Justice

                                                       Andrew E. Lelling
                                                       United States Attorney
                                                       District of Massachusetts
Main Reception: (617) 748-3100                         John Joseph Moakley United States Courthouse
                                                       1 Courthouse Way
                                                       Suite 9200
                                                       Boston, Massachusetts 02210

                                                       April 23, 2020
Thomas M. Hoopes
Douglas S. Brooks
LibbyHoopes, P.C.
399 Boylston Street
Boston, MA 02116

Elizabeth N. Mulvey
Crowe & Mulvey, LLP
141 Tremont Street, 8th Floor
Boston, MA 02111

          Re:       United States v. Shelley M. Richmond Joseph
                    Criminal No. 19-10141-LTS

Dear Counsel:

          We write in response to your letter dated April 14, 2020, requesting certain discovery.

                                        Discovery Background

        As you know, between May 23 and July 18, 2019, the government produced over 19,000
individually Bates-stamped items/pages of discovery to defendant Joseph. These included,
among other things, the audio recording of the April 2, 2018, court proceeding; audio recordings
of court proceedings on other dates when Joseph was presiding; grand jury transcripts of three
witnesses; Joseph’s emails; telephone records; the Newton District Court door access log for
April 2, 2018; Newton Police Department records for the March 30, 2018, arrest of A.S.; the
Newton District Court file for the criminal case against A.S.; the Newton District Court
Probation Department file for A.S.; and the Defense Attorney’s proffer letter and letter of
immunity agreement.

       On February 4, 2020, after obtaining A.S.’s file from immigration court, the government
produced those records pursuant to the protective order signed in this case.

          To date, Joseph has produced no reciprocal discovery.

        On April 13, 2020, you requested that we re-produce certain records, but without
redactions. We did so the next day. Just a few hours later, with no prior notice, you filed your 12-
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page, single-spaced letter with the Court. It seeks three categories of discovery. We reject all
three on the grounds that they are more than a year overdue, see L.R. 116.3(a), and for the
following reasons.

       1. Discovery Concerning Alleged Political Bias

        Joseph claims that her prosecution is the result of political bias, as allegedly shown by a
few things. First, she attacks the government’s agreement with a cooperating witness not to
prosecute him based on his statements or evidence derived therefrom so long as he testifies
truthfully. As you know, however, immunity agreements are perfectly permissible. See generally
United States v. Eliason, 3 F.3d 1149, 1153 (7th Cir. 1993); see also 18 U.S.C. § 6003. Joseph
has failed to explain why the government’s immunity agreement with the Defense Attorney
supposedly is improper. Your letter also includes an attack on the Defense Attorney’s credibility.
Since it is superfluous to Joseph’s discovery request, it appears the purpose of including it in
your letter was to unfairly smear a government witness in a public court filing. As you are aware,
Local Rule 83.2.1(c)(4) prohibits counsel from making extrajudicial public statements about the
credibility of a prospective trial witness.

        Joseph also cites public statements by U.S. Attorney Andrew Lelling and other
government officials criticizing “sanctuary cities.” In a recent op-ed, Mr. Lelling criticized
sanctuary cities that prohibit officials from notifying ICE when undocumented immigrants facing
criminal charges are released from custody, and sanctuary jurisdictions that refuse to enforce
federal gun laws, because they endanger public safety and allow cities to selectively decide
which federal laws to enforce. 1 Mr. Lelling’s anti-crime statement was no more unusual than any
of his other public statements criticizing criminal behavior, from violent crime to healthcare
fraud. It did not reflect a bias against any particular criminal defendant, including Joseph. Indeed,
the fact that Mr. Lelling offered Joseph a deferred prosecution agreement belies her claim that he
has treated her unfairly and is biased against her. Under the terms of the offer, Joseph would
have escaped criminal liability altogether had she agreed to accept responsibility for her conduct
and cooperate in any investigation by the Massachusetts Commission on Judicial Conduct.

       Joseph complains that Mr. Lelling’s op-ed included a criticism of a 2017 decision by
Newton District Court Presiding Judge Mary Beth Heffernan not to notify ICE when she released
an undocumented immigrant accused of raping a college student; the defendant fled the country
and the victim has not received justice. Mr. Lelling’s disapproval of the decision by Judge
Heffernan, who potentially will be called as a government witness, does not support Joseph’s
request for discovery.

       Joseph has asked the government to search for and produce any and all information
showing bias against her, Judge Heffernan, or sanctuary cities, by any person who is “in any
manner related to the instant case,” including any supervisor at the U.S. Attorney’s Office, the
Office of the U.S. Attorney General, Homeland Security Investigations-Boston, or ICE, “whose
views have impacted or potentially may impact the instant case to any degree.”


       1
        Andrew Lelling, “Sanctuary Cities Are a ‘Genuine and Persistent Threat,’” Boston
Herald (Feb. 10, 2020).
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         The information Joseph seeks is not discoverable. Rule 16(a)(2) specifically provides that
“reports, memoranda, or other internal government documents made by an attorney for the
government or other government agent in connection with investigating or prosecuting the case”
are not discoverable by a defendant. Joseph is trying to circumvent that prohibition by
characterizing the information she seeks as relevant to bias. Discoverable bias information,
however, is evidence of bias against the defendant by a witness the government plans to call at
trial. See L.R. 116.2(b)(2)(D); United States v. Abel, 469 U.S. 45 (1984) (cited in your letter).
Neither Mr. Lelling nor any other supervisor described in your letter is a potential trial witness.
To the extent that the government is or becomes aware of any information reflecting bias or
prejudice against Joseph by any witness whom the government plans to call in its case-in-chief,
we will produce it 21 days before trial, as Local Rule 116.2 requires.

        What Joseph really appears to be claiming is selective or vindictive prosecution. In either
case, she faces a high hurdle:

       In our system, so long as the prosecutor has probable cause to believe that the
       accused committed an offense defined by statute, the decision whether or not to
       prosecute, and what charge to file or bring before a grand jury, generally rests
       entirely in his discretion. Within the limits set by the legislature’s constitutionally
       valid definition of chargeable offenses, the conscious exercise of some selectivity
       in enforcement is not in itself a federal constitutional violation so long as the
       selection was not deliberately based upon an unjustifiable standard such as race,
       religion, or other arbitrary classification.

Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978) (footnote and internal quotation marks
omitted); see also United States v. Armstrong, 517 U.S. 456, 468 (1996) (discussing the
“demanding” standard for a selective-prosecution claim); United States v. Bucci, 582 F.3d 108,
112 (1st Cir. 2009) (noting the difficulty of making a pretrial showing of vindictive prosecution)
(citing United States v. Goodwin, 457 U.S. 368, 382 (1982) (“A prosecutor should remain free
before trial to exercise the broad discretion entrusted to him to determine the extent of the
societal interest in prosecution.”)). 2

        A defendant is not entitled to discovery in support of a selective-prosecution claim unless
she presents “some evidence” of both the allegedly discriminatory effect of the prosecution and
the government’s allegedly discriminatory intent. United States v. Lewis, 517 F.3d 20, 25 (1st
Cir. 2008) (affirming district court’s denial of defendant’s discovery request in support of his
selective-prosecution claim). “Some evidence” means a “credible showing” that (a) the
government chose to prosecute the defendant at least in part because of some constitutionally
protected characteristic, and (b) the government has not prosecuted similarly situated persons
lacking that characteristic. Id.; Armstrong, 517 U.S. at 470. A defendant is not entitled to
discovery in support of a vindictive-prosecution claim unless she presents “some objective
evidence tending to show the existence of prosecutorial vindictiveness.” Bucci, 582 F.3d at 113

       2
          Former federal judge Harry Claiborne claimed selective prosecution, arguing that his
prosecution was motivated by a desire to retaliate against him for the way he had exercised the
functions of his office. His arguments were rejected and his conviction was upheld. See United
States v. Claiborne, 727 F.2d 842, 849 (9th Cir. 1984), and 765 F.2d 784, 805 (9th Cir. 1985).
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(internal quotation marks omitted). Identifying a potential motive for prosecutorial animus is not
sufficient. See id. (affirming district court’s denial of defendant’s discovery request in support of
his vindictive-prosecution claim).

       Joseph has not identified the constitutionally protected characteristic or activity that
supposedly is the reason for her prosecution, much less pointed to any evidence in support of a
claim for either selective prosecution or vindictive prosecution. Therefore, the government
denies her request.

       2. Discovery Concerning Leaks to the Press

        Joseph has asked for discovery to identify the person(s) who disclosed to the Boston
Globe the existence of the grand jury investigation, which the Globe first reported on December
1, 2018, and Joseph’s rejection of a deferred prosecution agreement, which the Globe first
reported on May 23, 2019. Joseph admits the second disclosure did not violate Rule 6(e).
Although she contends the first disclosure did, she ignores the fact that the government already
had issued numerous grand jury subpoenas to entities and persons who were not prohibited from
disclosing grand jury information. In any event, Joseph’s request is “beyond the scope of Rule
16.” United States v. Kearney, 436 F. Supp. 1108, 1118 (S.D.N.Y. 1977) (denying defendant’s
request for discovery to identify person who leaked grand jury information to the press).

       3. Discovery of Statements by the ICE Agents

       Finally, Joseph seeks any and all statements made by either of the two ICE officers who
went to Newton District Court on April 2, 2018, to take custody of A.S.

        The basis for Joseph’s request is a statement in the grand jury transcript of a Newton
District Court Officer who was on duty that day. It appears Joseph obtained the transcript from
MacGregor’s counsel. The government produced to MacGregor all grand jury transcripts in
which witnesses testified to statements made by MacGregor exculpating himself, and it produced
to Joseph all grand jury transcripts in which witnesses testified to statements made by Joseph
exculpating herself, as part of automatic discovery.

        According to your letter, the statement at issue indicates that the Chief Court Officer at
Newton District Court offered to let one of the ICE officers enter the lockup through the sally
port, but the ICE officer declined that offer when he was told that A.S. would be released
through the courtroom. Defendant Joseph contends that this statement is exculpatory information
that should have been disclosed under Brady v. Maryland because it undercuts the government’s
allegation that she acted with corrupt intent.

        As you know, “there is no general constitutional right to discovery in a criminal case, and
Brady did not create one.” United States v. Caro-Muniz, 406 F.3d 22, 29 (1st Cir. 2005) (internal
quotation marks omitted). Evidence is discoverable under Brady only if it is “material and
potentially exculpatory.” Id.

        Joseph’s contention that the alleged statement by the Chief Court Officer undercuts the
allegation that Joseph acted with corrupt intent is without merit. The alleged statement would

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show that the Chief Court Officer, not Joseph, offered the ICE officer an opportunity to take
custody of A.S. in lockup. Any such offer would have been consistent with the Trial Court DHS
Policy, which expressly allowed ICE officers to enter a courthouse’s holding cell to take custody
of a person subject to an immigration detainer or warrant. But Joseph violated that policy by
ordering that the ICE officer be prevented from entering the lockup. She also ordered him out of
the courtroom. As a result, the ICE officer was left waiting for A.S. in the courthouse lobby.
Joseph knew this: the Defense Attorney told her, “ICE is going to pick him up if walks out the
front door,” and she expressed her concern that “ICE is gonna get him.” To try to prevent A.S.
from walking out the front door into the arms of the ICE officer, Joseph proposed either holding
over A.S.’s case until the following day, or detaining A.S. even though the ADA was not seeking
detention. When the Defense Attorney explained that neither of those alternatives would keep
A.S. out of ICE custody, Joseph agreed with the Defense Attorney to engage in a ruse to enable
A.S. to go downstairs to the lockup instead of releasing him through the front lobby. When the
Clerk reminded Joseph that there was an ICE officer in the courthouse “to visit the lockup,”
Joseph again rejected that idea, saying, “I’m not gonna allow them to come in here.”

        These allegations in the indictment are more than sufficient to establish that Joseph acted
with corrupt intent. The Chief Court Officer’s alleged offer for the ICE officer to enter the
lockup, which Joseph overruled, does not in any way undercut the government’s allegation that
she acted with corrupt intent. The requested statements by the ICE officers are not “material and
potentially exculpatory evidence.” Caro-Muniz, 406 F.3d at 29. Therefore, they are not Brady
material.

       For these reasons and because Joseph’s requests are untimely, the government declines to
produce the requested information.

                                                     Very truly yours,

                                                     ANDREW E. LELLING
                                                     United States Attorney


                                              By:    /s/ Christine Wichers
                                                     DUSTIN CHAO
                                                     CHRISTINE WICHERS
                                                     Assistant U.S. Attorneys




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